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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                               NEWNAN DIVISION

Elvis Jordan,                                 Case No.:

                 Plaintiff,

      vs.                                     COMPLAINT

Equifax Information Services, LLC,
a Georgia limited liability company,          JURY TRIAL DEMAND

Trans Union, LLC,
an Illinois limited liability company,

Experian Information Solutions, Inc., a
foreign corporation,

Comenity LLC d/b/a Comenity Bank, a
foreign limited liability company,

Capital One Financial Corporation d/b/a
Capital One Bank USA N.A., a foreign
corporation,

Americollect, Inc,
a foreign corporation, and

L J Ross Associates, Inc., a foreign
corporation,

                Defendants.




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      NOW COMES THE PLAINTIFF, ELVIS JORDAN, BY AND THROUGH

COUNSEL, Matthew Landreau, Esq., and for his Complaint against the Defendants,

pleads as follows:



                                 JURISDICTION

   1. Jurisdiction of this court arises under 15 U.S.C. §1681p.

   2. This is an action brought by a consumer for violation of the Fair Credit

      Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).



                                     VENUE

   3. The transactions and occurrences which give rise to this action occurred in the

      City of Griffin, Spalding County, Georgia.

   4. Venue is proper in the Northern District of Georgia, Newnan Division.



                                    PARTIES

   5. Plaintiff is a natural person residing in City of Griffin, Spalding County,

      Georgia.

   6. The Defendants to this lawsuit are:

         a. Equifax Information Services, LLC (“Equifax”) is a Georgia limited

            liability company that conducts business in the State of Georgia;


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      b. Trans Union, LLC (“Trans Union”) is a foreign limited liability

         company that conducts business in the State of Georgia;

      c. Experian Information Solutions, Inc. (“Experian”) is a foreign

         corporation that conducts business in the State of Georgia;

      d. Comenity LLC d/b/a Comenity Bank (“Comenity”) a foreign limited

         liability company that conducts business in the State of Georgia;

      e. Capital One Financial Corporation d/b/a Capital One Bank USA N.A.

         (“Capital One”) is a foreign corporation that conducts business in the

         State of Georgia; and

      f. Americollect, Inc. (“Americollect”) is a foreign corporation that

         conducts business in the State of Georgia.; and

      g. L J Ross Associates, Inc. (“LJ Ross”) is a foreign corporation that

         conducts business in the State of Georgia.


                       GENERAL ALLEGATIONS

7. Comenity, Capital One, Americollect and LJ Ross (collectively “Furnishers”)

   are inaccurately reporting their Tradelines (“Errant Tradelines”) with an

   erroneous notation of “account in dispute” on Plaintiff's Equifax, Trans Union

   and Experian credit disclosures.

8. Comenity is inaccurately reporting its Errant Tradeline with an erroneous

   notation of “account in dispute” on Plaintiff’s Equifax credit disclosure.
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9. Capital One, Americollect and LJ Ross are inaccurately reporting their Errant

   Tradelines with an erroneous notation of “account in dispute” on Plaintiff’s

   Equifax, Trans Union and Experian credit disclosures.

10. Plaintiff no longer disputes the Errant Tradelines.

11. On June 24, 2020, Plaintiff obtained his Equifax, Trans Union and Experian

   credit disclosures and noticed the Errant Tradelines inaccurately reporting

   with an erroneous notation of “account in dispute.”

12. On or about July 30, 2020, Plaintiff submitted separate letters to Equifax,

   Trans Union and Experian, stating that he no longer disputes the Errant

   Tradelines and requesting the credit bureaus to remove the notation

   of “account in dispute.”

13. Equifax, Trans Union and Experian forwarded Plaintiff’s consumer dispute

   to the Furnishers.

14. The Furnishers received Plaintiff’s consumer dispute from Equifax, Trans

   Union and Experian.

15. Equifax, Trans Union, Experian and the Furnishers did not consult the Credit

   Reporting Resource Guide as part of its investigation of Plaintiff’s dispute.

16. Plaintiff had not received Equifax’s and Trans Union’s investigation results.

   Therefore, on October 08, 2020, Plaintiff obtained his Equifax and Trans




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    Union credit disclosures, which showed that Equifax, Trans Union and the

    Furnishers failed or refused to remove the notation of “account in dispute.”

 17. Plaintiff had not received Experian’s investigation results. Therefore, on

    October 09, 2020, Plaintiff obtained his Experian credit disclosure, which

    showed that Equifax, Trans Union and the Furnishers failed or refused to

    remove the notation of “account in dispute.”

 18. As a direct and proximate cause of the Defendants’ negligent and/or willful

    failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681,

    et seq., Plaintiff has suffered credit and emotional damages. Plaintiff has also

    experienced undue stress and anxiety due to Defendants’ failure to correct the

    errors in his credit files or improve his financial situation by obtaining new or

    more favorable credit terms as a result of the Defendants’ violations of the

    FCRA.

                                   COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                      COMENITY

 19. Plaintiff realleges the above paragraphs as if recited verbatim.

 20. After being informed by Equifax of Plaintiff’s consumer dispute of the

    erroneous notation, Comenity negligently failed to conduct a proper

    investigation of Plaintiff’s dispute as required by 15 USC 1681s-2(b).



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   21. Comenity negligently failed to review all relevant information available to it

      and provided by Equifax in conducting its reinvestigation as required by 15

      USC 1681s-2(b) and failed to direct Equifax to remove the notation

      of “account in dispute.” .

   22. The Errant Tradeline is inaccurate and creates a misleading impression on

      Plaintiff’s consumer credit file with Equifax to which it is reporting such

      tradeline.

   23. As a direct and proximate cause of Comenity’s negligent failure to perform

      its duties under the FCRA, Plaintiff has suffered damages, mental anguish,

      suffering, humiliation, and embarrassment.

   24. Comenity is liable to Plaintiff by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact together with reasonable

      attorneys’ fees pursuant to 15 USC 1681o.

   25. Plaintiff has a private right of action to assert claims against Comenity arising

      under 15 USC 1681s-2(b).

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant Comenity for damages, costs, interest, and attorneys’ fees.



                                     COUNT II

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                       COMENITY
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   26. Plaintiff realleges the above paragraphs as if recited verbatim.

   27. After being informed by Equifax that Plaintiff disputed the accuracy of the

      information it was providing, Comenity willfully failed to conduct a proper

      reinvestigation    of   Plaintiff’s       dispute,   and   willfully   failed   to

      direct Equifax to remove the notation of “account in dispute.”

   28. Comenity willfully failed to review all relevant information available to it

      and provided by Equifax as required by 15 USC 1681s-2(b).

   29. As a direct and proximate cause of Comenity’s willful failure to perform its

      duties under the FCRA, Plaintiff has suffered damages, mental anguish,

      suffering, humiliation, and embarrassment.

   30. Comenity is liable to Plaintiff for either statutory damages or actual damages

      he has sustained by reason of its violations of the FCRA in an amount to be

      determined by the trier of fact, together with an award of punitive damages in

      the amount to be determined by the trier of fact, as well as for reasonable

      attorneys’ fees and costs he may recover therefore pursuant to 15 USC 1681n.

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant Comenity for the greater of statutory or actual damages, plus

punitive damages, along with costs, interest, and attorneys’ fees.

                                    COUNT III



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NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                     CAPITAL ONE

 31. Plaintiff realleges the above paragraphs as if recited verbatim.

 32. After being informed by Equifax, Trans Union and Experian of Plaintiff’s

    consumer dispute of the erroneous notations, Capital One negligently failed

    to conduct a proper investigation of Plaintiff’s dispute as required by 15 USC

    1681s-2(b).

 33. Capital One negligently failed to review all relevant information available to

    it and provided by Equifax, Trans Union and Experian in conducting its

    reinvestigation as required by 15 USC 1681s-2(b) and failed to direct Equifax,

    Trans Union and Experian to remove the notation of “account in dispute.” .

 34. The Errant Tradelines are inaccurate and creates a misleading impression on

    Plaintiff’s consumer credit files with Equifax, Trans Union and Experian to

    which it is reporting such tradelines.

 35. As a direct and proximate cause of Capital One’s negligent failure to perform

    its duties under the FCRA, Plaintiff has suffered damages, mental anguish,

    suffering, humiliation, and embarrassment.

 36. Capital One is liable to Plaintiff by reason of its violations of the FCRA in an

    amount to be determined by the trier of fact together with reasonable

    attorneys’ fees pursuant to 15 USC 1681o.



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   37. Plaintiff has a private right of action to assert claims against Capital One

      arising under 15 USC 1681s-2(b).

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant Capital One for damages, costs, interest, and attorneys’ fees.

                                    COUNT IV

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                     CAPITAL ONE

   38. Plaintiff realleges the above paragraphs as if recited verbatim.

   39. After being informed by Equifax, Trans Union and Experian that Plaintiff

      disputed the accuracy of the information it was providing, Capital One

      willfully failed to conduct a proper investigation of Plaintiff’s dispute, and

      willfully failed to direct Equifax, Trans Union and Experian to remove the

      notation of “account in dispute.”

   40. Capital One willfully failed to review all relevant information available to it

      and provided by Equifax, Trans Union and Experian as required by 15 USC

      1681s-2(b).

   41. As a direct and proximate cause of Capital One’s willful failure to perform

      its duties under the FCRA, Plaintiff has suffered damages, mental anguish,

      suffering, humiliation, and embarrassment.

   42. Capital One is liable to Plaintiff for either statutory damages or actual

      damages he has sustained by reason of its violations of the FCRA in an amount
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      to be determined by the trier of fact, together with an award of punitive

      damages in the amount to be determined by the trier of fact, as well as for

      reasonable attorneys’ fees and costs he may recover therefore pursuant to 15

      USC 1681n.

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant Capital One for the greater of statutory or actual damages,

plus punitive damages, along with costs, interest, and attorneys’ fees.

                                    COUNT V

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                    AMERICOLLECT

   43. Plaintiff realleges the above paragraphs as if recited verbatim.

   44. After being informed by Equifax, Trans Union and Experian of Plaintiff’s

      consumer dispute of the erroneous notations, Americollect negligently failed

      to conduct a proper investigation of Plaintiff’s dispute as required by 15 USC

      1681s-2(b).

   45. Americollect negligently failed to review all relevant information available

      to it and provided by Equifax, Trans Union and Experian in conducting its

      reinvestigation as required by 15 USC 1681s-2(b) and failed to direct Equifax,

      Trans Union and Experian to remove the notation of “account in dispute.” .




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   46. The Errant Tradelines are inaccurate and creates a misleading impression on

      Plaintiff’s consumer credit files with Equifax, Trans Union and Experian to

      which it is reporting such tradelines.

   47. As a direct and proximate cause of Americollect’s negligent failure to

      perform its duties under the FCRA, Plaintiff has suffered damages, mental

      anguish, suffering, humiliation, and embarrassment.

   48. Americollect is liable to Plaintiff by reason of its violations of the FCRA in

      an amount to be determined by the trier of fact together with reasonable

      attorneys’ fees pursuant to 15 USC 1681o.

   49. Plaintiff has a private right of action to assert claims against Americollect

      arising under 15 USC 1681s-2(b).

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant Americollect for damages, costs, interest, and attorneys’ fees.

                                    COUNT VI

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                    AMERICOLLECT

   50. Plaintiff realleges the above paragraphs as if recited verbatim.

   51. After being informed by Equifax, Trans Union and Experian that Plaintiff

      disputed the accuracy of the information it was providing, Americollect

      willfully failed to conduct a proper reinvestigation of Plaintiff’s dispute, and



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      willfully failed to direct Equifax, Trans Union and Experian to remove the

      notation of “account in dispute.”

   52. Americollect willfully failed to review all relevant information available to it

      and provided by Equifax, Trans Union and Experian as required by 15 USC

      1681s-2(b).

   53. As a direct and proximate cause of Americollect’s willful failure to perform

      its duties under the FCRA, Plaintiff has suffered damages, mental anguish,

      suffering, humiliation, and embarrassment.

   54. Americollect is liable to Plaintiff for either statutory damages or actual

      damages he has sustained by reason of its violations of the FCRA in an amount

      to be determined by the trier of fact, together with an award of punitive

      damages in the amount to be determined by the trier of fact, as well as for

      reasonable attorneys’ fees and costs he may recover therefore pursuant to 15

      USC 1681n.

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant Americollect for the greater of statutory or actual damages,

plus punitive damages, along with costs, interest, and attorneys’ fees.

                                    COUNT VII

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                        LJ ROSS

   55. Plaintiff realleges the above paragraphs as if recited verbatim.
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56. After being informed by Equifax, Trans Union and Experian of Plaintiff’s

   consumer dispute of the erroneous notations, LJ Ross negligently failed to

   conduct a proper investigation of Plaintiff’s dispute as required by 15 USC

   1681s-2(b).

57. LJ Ross negligently failed to review all relevant information available to it

   and provided by Equifax, Trans Union and Experian in conducting its

   reinvestigation as required by 15 USC 1681s-2(b) and failed to direct Equifax,

   Trans Union and Experian to remove the notation of “account in dispute.” .

58. The Errant Tradeline are inaccurate and creates a misleading impression on

   Plaintiff’s consumer credit files with Equifax, Trans Union and Experian to

   which it is reporting such tradelines.

59. As a direct and proximate cause of LJ Ross’ negligent failure to perform its

   duties under the FCRA, Plaintiff has suffered damages, mental anguish,

   suffering, humiliation, and embarrassment.

60. LJ Ross is liable to Plaintiff by reason of its violations of the FCRA in an

   amount to be determined by the trier of fact together with reasonable

   attorneys’ fees pursuant to 15 USC 1681o.

61.Plaintiff has a private right of action to assert claims against LJ Ross arising

   under 15 USC 1681s-2(b).




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      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant PHEAA for damages, costs, interest, and attorneys’ fees.



                                   COUNT VIII

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                        LJ ROSS

   62. Plaintiff realleges the above paragraphs as if recited verbatim.

   63. After being informed by Equifax, Trans Union and Experian that Plaintiff

      disputed the accuracy of the information it was providing, LJ Ross willfully

      failed to conduct a proper reinvestigation of Plaintiff’s dispute, and willfully

      failed to direct Equifax, Trans Union and Experian to remove the notation

      of “account in dispute.”

   64.LJ Ross willfully failed to review all relevant information available to it and

      provided by Equifax, Trans Union and Experian as required by 15 USC

      1681s-2(b).

   65. As a direct and proximate cause of LJ Ross’ willful failure to perform its

      duties under the FCRA, Plaintiff has suffered damages, mental anguish,

      suffering, humiliation, and embarrassment.

   66. LJ Ross is liable to Plaintiff for either statutory damages or actual damages

      he has sustained by reason of its violations of the FCRA in an amount to be

      determined by the trier of fact, together with an award of punitive damages in
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      the amount to be determined by the trier of fact, as well as for reasonable

      attorneys’ fees and costs he may recover therefore pursuant to 15 USC 1681n.

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against the Defendant LJ Ross for the greater of statutory or actual damages, plus

punitive damages, along with costs, interest, and attorneys’ fees.

                                    COUNT IX

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY EQUIFAX

   67. Plaintiff realleges the above paragraphs as if recited verbatim.

   68. Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   69. Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   70. Equifax negligently failed to maintain and/or follow reasonable procedures

      to assure maximum possible accuracy of the information it reported to one or

      more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

   71. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Equifax

      negligently failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.



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   72. As a direct and proximate cause of Equifax’s negligent failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   73. Equifax is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 USC 1681o.


      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Equifax for actual damages, costs, interest, and attorneys’ fees.


                                     COUNT X

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                       BY EQUIFAX

   74. Plaintiff realleges the above paragraphs as if recited verbatim.

   75. Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   76. Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   77. Equifax willfully failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information that it reported to one

      or more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).
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   78. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Equifax

      willfully failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.

   79. As a direct and proximate cause of Equifax’s willful failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   80. Equifax is liable to Plaintiff by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 USC 1681n.



      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Defendant Equifax for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.

                                    COUNT XI

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                    BY TRANS UNION

   81. Plaintiff realleges the above paragraphs as if recited verbatim.

   82. Defendant Trans Union prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.



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   83. Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   84. Trans Union negligently failed to maintain and/or follow reasonable

      procedures to assure maximum possible accuracy of the information it

      reported to one or more third parties pertaining to Plaintiff, in violation of 15

      USC 1681e(b).

   85. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Trans

      Union negligently failed to conduct a reasonable reinvestigation as required

      by 15 U.S.C. 1681i.

   86. As a direct and proximate cause of Trans Union’s negligent failure to perform

      its duties under the FCRA, Plaintiff has suffered actual damages, mental

      anguish and suffering, humiliation, and embarrassment.

   87. Trans Union is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 USC 1681o.


      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Trans Union for actual damages, costs, interest, and attorneys’ fees.


                                    COUNT XII

   WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                    BY TRANS UNION
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88. Plaintiff realleges the above paragraphs as if recited verbatim.

89. Defendant Trans Union prepared, compiled, issued, assembled, transferred,

   published, and otherwise reproduced consumer reports regarding Plaintiff as

   that term is defined in 15 USC 1681a.

90. Such reports contained information about Plaintiff that was false, misleading,

   and inaccurate.

91. Trans Union willfully failed to maintain and/or follow reasonable procedures

   to assure maximum possible accuracy of the information that it reported to

   one or more third parties pertaining to Plaintiff, in violation of 15 USC

   1681e(b).

92. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Trans

   Union willfully failed to conduct a reasonable reinvestigation as required by

   15 U.S.C. 1681i.

93. As a direct and proximate cause of Trans Union’s willful failure to perform

   its duties under the FCRA, Plaintiff has suffered actual damages, mental

   anguish and suffering, humiliation, and embarrassment.

94. Trans Union is liable to Plaintiff by reason of its violations of the FCRA in

   an amount to be determined by the trier of fact together with his reasonable

   attorneys’ fees pursuant to 15 USC 1681n.



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      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Defendant Trans Union for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.

                                   COUNT XIII

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY EXPERIAN

   95. Plaintiff realleges the above paragraphs as if recited verbatim.

   96. Defendant Experian prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   97. Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   98. Experian negligently failed to maintain and/or follow reasonable procedures

      to assure maximum possible accuracy of the information it reported to one or

      more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

   99. After receiving Plaintiff’s consumer dispute to the Errant Tradelines,

      Experian negligently failed to conduct a reasonable reinvestigation as required

      by 15 U.S.C. 1681i.

   100.      As a direct and proximate cause of Experian’s negligent failure to

      perform its duties under the FCRA, Plaintiff has suffered actual damages,

      mental anguish and suffering, humiliation, and embarrassment.
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   101.      Experian is liable to Plaintiff by reason of its violation of the FCRA in

      an amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 USC 1681o.


      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Experian for actual damages, costs, interest, and attorneys’ fees.


                                    COUNT XIV

   WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY EXPERIAN

   102.      Plaintiff realleges the above paragraphs as if recited verbatim.

   103.      Defendant     Experian    prepared,    compiled,    issued,     assembled,

      transferred, published, and otherwise reproduced consumer reports regarding

      Plaintiff as that term is defined in 15 USC 1681a.

   104.      Such reports contained information about Plaintiff that was false,

      misleading, and inaccurate.

   105.      Experian willfully failed to maintain and/or follow reasonable

      procedures to assure maximum possible accuracy of the information that it

      reported to one or more third parties pertaining to Plaintiff, in violation of 15

      USC 1681e(b).




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   106.      After receiving Plaintiff’s consumer dispute to the Errant Tradelines,

      Experian willfully failed to conduct a reasonable reinvestigation as required

      by 15 U.S.C. 1681i.

   107.      As a direct and proximate cause of Experian’s willful failure to

      perform its duties under the FCRA, Plaintiff has suffered actual damages,

      mental anguish and suffering, humiliation, and embarrassment.

   108.      Experian is liable to Plaintiff by reason of its violations of the FCRA

      in an amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 USC 1681n.


      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Defendant Experian for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.


                                JURY DEMAND

      Plaintiff hereby demands a trial by Jury.



DATED: October 22, 2020

                                              By: /s/ Matthew Landreau
                                              Matthew Landreau
                                              Bar Number 301329
                                              22142 West Nine Mile Road
                                              Southfield, MI 48033
                                              Telephone: (248) 353-2882
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                                     Attorneys for Plaintiff,
                                     Elvis Jordan




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